Case:17-03283-LTS Doc#:6271-1 Filed:04/15/19 Entered:04/15/19 20:16:04   Desc:
               Exhibit A - Schedule of Claims - English Page 1 of 3



                                 EXHIBIT A
                                   Case:17-03283-LTS Doc#:6271-1 Filed:04/15/19 Entered:04/15/19 20:16:04                                           Desc:
                                                  Exhibit A - Schedule of Claims - English Page 2 of 3

                                                                       Twenty-Second Omnibus Objection
                                                                         Exhibit A - Amended Claims
                                   CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                              DATE          CASE NUMBER /                                                                     DATE          CASE NUMBER /
          NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT             NAME               FILED            DEBTOR               CLAIM #   CLAIM AMOUNT
1 ARROYO CARABALLO,           05/29/18   Puerto Rico Highways and     28869             $ 12,925.00 ARROYO CARABALLO,         06/28/18   Puerto Rico Highways and    57904          $ 12,925.00*
  MARIA E                                Transportation Authority                                   MARIA E.                             Transportation Authority
  URB. PALACIOS REALES                   17 BK 03567-LTS                                            URB. PALACIOS REALES                 17 BK 03567-LTS
  44 CALLE RAVENA                                                                                   #44 CALLE RAVENA
  TOA ALTA, PR 00953                                                                                TOA ALTA, PR 00953

  Reason: Amended and superseded by a later filed Proof of Claim.
2 CARMEN D. JIMENEZ           04/23/18   Puerto Rico Highways and      9614            $ 523,166.67 CARMEN D. JIMENEZ         07/20/18   Puerto Rico Highways and    161678         $ 525,247.39
  GANDARA ESTATE                         Transportation Authority                                   GANDARA ESTATE                       Transportation Authority
  CARLOS E. TORRES                       17 BK 03567-LTS                                            CARLOS E. TORRES                     17 BK 03567-LTS
  PO BOX 9659                                                                                       PO BOX 9659
  SAN JUAN, PR 00908-0659                                                                           SAN JUAN, PR 00908-0659

  Reason: Amended and superseded by a later filed Proof of Claim.
3 FINCA MATILDE, INC.         04/23/18   Puerto Rico Highways and      6812            $ 247,920.00 FINCA MATILDE, INC.       05/31/18   Puerto Rico Highways and    22994        $ 7,248,000.00*
  FIDEICOMISO                            Transportation Authority                                   9166 CALLE MARINA                    Transportation Authority
  MERCADO RIERA                          17 BK 03567-LTS                                            PONCE, PR 00717                      17 BK 03567-LTS
  9166 CALLE MARINA
  SUITE 117
  PONCE, PR 00717

  Reason: Amended and superseded by a later filed Proof of Claim.
4 FINCA                       05/15/18   Puerto Rico Highways and     14920            $ 145,436.07 FINCA                     06/08/18   Puerto Rico Highways and    35047         $ 415,436.07*
  PERSEVERANCIA, INC.                    Transportation Authority                                   PERSEVERANCIA, INC.                  Transportation Authority
  MARGARITA WILSON                       17 BK 03567-LTS                                            MARGARITA WILSON                     17 BK 03567-LTS
  9166 CALLE MARINA                                                                                 9166 CALLE MARINA
  PONCE, PR 00717                                                                                   PONCE, PR 00717

  Reason: Amended and superseded by a later filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 1 of 2
                                   Case:17-03283-LTS Doc#:6271-1 Filed:04/15/19 Entered:04/15/19 20:16:04                                           Desc:
                                                  Exhibit A - Schedule of Claims - English Page 3 of 3

                                                                       Twenty-Second Omnibus Objection
                                                                         Exhibit A - Amended Claims
                                   CLAIMS TO BE DISALLOWED                                                                               REMAINING CLAIMS

                              DATE          CASE NUMBER /                                                                     DATE          CASE NUMBER /
          NAME                FILED            DEBTOR               CLAIM #       CLAIM AMOUNT              NAME              FILED            DEBTOR               CLAIM #   CLAIM AMOUNT
5 AMERINATIONAL               05/25/18   Puerto Rico Highways and     29533        $ 2,355,974,556.98* AMERINATIONAL          06/29/18   Puerto Rico Highways and    151149     $ 2,300,700,063.92
  COMMUNITY SERVICES,                    Transportation Authority                                      COMMUNITY SERVICES,               Transportation Authority
  LLC AS SERVICER FOR                    17 BK 03567-LTS                                               LLC AS SERVICER FOR               17 BK 03567-LTS
  THE GDB DEBT                                                                                         THE GDB DEBT
  RECOVERY                                                                                             RECOVERY
  AUTHORITY, AS                                                                                        AUTHORITY, AS
  TRANSFEREE OF                                                                                        TRANSFEREE OF
  GOVERNMENT                                                                                           GOVERNMENT
  DEVELOPMENT BANK                                                                                     DEVELOPMENT BANK
  OF PUERTO RICO                                                                                       OF PUERTO RICO
  ATTN: FRANCISCO DE                                                                                   ATTN: FRANCISCO DE
  ARMAS                                                                                                ARMAS
  PONCE DE LEON AVE. #                                                                                 PONCE DE LEON AVE. #
  1519                                                                                                 1519
  FIRSTBANK BLDG.,                                                                                     FIRSTBANK BLDG.,
  SUITE 1406                                                                                           SUITE 1406
  SAN JUAN, PR 00908                                                                                   SAN JUAN, PR 00908

  Reason: Amended and superseded by a later filed Proof of Claim.
6 RUGG ROZANY, LINDA          04/12/18   Puerto Rico Highways and      7122            Undetermined* RUGG ROZANY, LINDA       05/15/18   Puerto Rico Highways and    13753            $ 25,000.00
  42 WAGON WHEEL RD                      Transportation Authority                                    42 WAGON WHEEL RD.                  Transportation Authority
  REDDING, CT 06896                      17 BK 03567-LTS                                             REDDING, CT 06896                   17 BK 03567-LTS

  Reason: Amended and superseded by a later filed Proof of Claim.
7 THE WILLIAM &               04/23/18   Puerto Rico Highways and      8324            Undetermined* THE WILLIAM &            05/21/18   Puerto Rico Highways and    17716            $ 31,081.64
  BARBARA HERMAN                         Transportation Authority                                    BARBARA HERMAN                      Transportation Authority
  FAMILY TRUST UAD                       17 BK 03567-LTS                                             FAMILY TRUST, WAD                   17 BK 03567-LTS
  07/17/15 BARBARA J.                                                                                07/17/15 BARBARA J.
  HERMAN & WILLIAM A.                                                                                HERMAN & WILLIAM A.
  HERMAN TTEES                                                                                       HERMAN TTEES
  6238 GLIDE AVE                                                                                     6238 GLIDE AVE
  WOODLAND HILLS, CA                                                                                 WOODLAND HILLS, CA
  91367                                                                                              91367

  Reason: Amended and superseded by a later filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                    Page 2 of 2
